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                                   EXHIBIT A
       Compensation By Category – Fourth Monthly Compensation Period


                     Project Category                        Total Hours     Total Fees

  B110 Case Administration                                          11.10          $5,191.00

  B130 Asset Disposition                                            10.00          $5,572.00

  B150 Meetings/Communications with Committee and/or
                                                                     2.90          $2,229.00
  Creditors

  B160 Retention Applications (MJ)                                   0.60           $210.00

  B165 Retention Applications (Others)                               1.00           $350.00

  B170 Fee Applications (MJ)                                         7.60          $3,698.50

  B175 Fee Applications (Others)                                     9.20          $4,820.50

  B185 Assumption/Rejection of Leases and Contracts                  3.20          $1,232.00

  B310 Claims Administration and Objections                          2.90          $1,311.00

  B320 Plan and Disclosure Statement                                 5.60          $3,063.00

                                                    Totals          54.10      $27,677.00




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              Timekeeper Summary – Fourth Monthly Compensation Period

             Timekeeper               Position                 Rate        Hours    Amount

                             Member of the Delaware
                             Bar since 2008; Partner in
             Eric J. Monzo                                   $795.00       10.20      $8,109.00
                             Bankruptcy Department
                             since 2014

                             Member of the Delaware
                             Bar since 2005; Partner in
        Brya M. Keilson                                      $750.00       9.20       $6,900.00
                             Bankruptcy Department
                             since 2019

                             Member of the
                             Pennsylvania Bar since
         Siena B. Cerra      2023; Associate in              $385.00       18.80      $7,238.00
                             Bankruptcy Department
                             since 2023

                             Paralegal in Bankruptcy
       Stephanie A. Lisko                                    $350.00       4.00       $1,400.00
                             Department since 2020

                             Paralegal in Bankruptcy
        Douglas J. Depta                                     $350.00       11.30      $3,955.00
                             Department since 2020

       Jessica K. Farenski   Case Manager                    $125.00       0.60           $75.00


                                   Totals                                  54.10     $27,677.00
                              Blended Rate $511.58




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                                         500 Delaware Avenue, Suite 1500
                                                  P. O. Box 2306
                                         Wilmington, Delaware 19899-2306
                                                  (302) 888-6800
                                             Facsimile (302) 571-1750

                                            Federal Tax I.D. XX-XXXXXXX




 Lordstown Motors Corp. Official Committee of Equity Security
 Holders
 Committee Chairperson: Andrew Sole                                                            February 2, 2024
 andrewsole@ecvlp.com                                                                           Invoice 599477
 Esopus Creek Value Series Fund LP – Series “A”
 81 Newtown Ln. #307
 East Hampton, NY 11937



 Matter Name:          Lordstown Motor Corp., et al.
 Matter Number:        142570-0001
 Attorney:             Eric J. Monzo




For Professional Services through December 31, 2023

                  Fees                                          $27,677.00
                  Disbursements                                   $836.78

                  Total Charges                                 $28,513.78


                                                       Fee Recap

                                                                      Hours         Rate/Hours         Amount
 Brya M. Keilson                        Partner                         9.20            750.00        6,900.00
 Eric J. Monzo                          Partner                        10.20            795.00        8,109.00
 Siena B. Cerra                         Associate                      18.80            385.00        7,238.00
 Douglas J. Depta                       Paralegal                      11.30            350.00        3,955.00
 Stephanie A. Lisko                     Paralegal                       4.00            350.00        1,400.00
 Jessica K. Farenski                    Case Manager                    0.60            125.00           75.00
                                        Totals                         54.10                         27,677.00
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                                                 Services by Task Code

                                                                             Hours                          Amount
                   B110       Case Administration                             11.10                         5,191.00
                   B130       Asset Disposition                               10.00                         5,572.00
                   B150       Meetings/Communications with                        2.90                      2,229.00
                              Committee and/or Creditors
                   B160       Retention Applications (MJ)                         0.60                       210.00
                   B165       Retention Applications (Others)                     1.00                       350.00
                   B170       Fee Applications (MJ)                               7.60                      3,698.50
                   B175       Fee Applications (Others)                           9.20                      4,820.50
                   B185       Assumption/Rejection of Leases and                  3.20                      1,232.00
                              Contracts
                   B310       Claims Administration and Objections                2.90                      1,311.00
                   B320       Plan and Disclosure Statement                       5.60                      3,063.00
                                        Totals                                54.10                       $27,677.00



                                                          Fees

Date        Atty          Description                                                    Hours    Rate      Amount

B110 Case Administration
12/01/23   SAL        Circulate November 21 hearing transcript to co-counsel.             0.10   350.00        35.00
12/04/23   SAL        Review relevant pleadings filed, update critical dates, and         0.30   350.00       105.00
                      update case calendar and folder.
12/05/23   EJM        Review update on status of litigation with claimants.               1.20   795.00       954.00
12/06/23   SAL        Review relevant pleadings filed, update critical dates and          0.30   350.00       105.00
                      update case calendar and folder.
12/07/23   SAL        Review agenda for December 11 hearing, register                     0.20   350.00        70.00
                      appearances, update critical dates, and update case
                      calendar and folder.
12/07/23   SBC        Review relevant pleadings.                                          1.00   385.00       385.00
12/07/23   EJM        Review agenda for hearing on miscellaneous matters and              0.10   795.00        79.50
                      interim fees award.
12/08/23   SAL        Review relevant pleadings filed, update critical dates, and         0.50   350.00       175.00
                      update case calendar and folder.
12/08/23   SAL        Review amended agenda for December 11 hearing, email                0.20   350.00        70.00
                      to E. Monzo and B. Keilson, and update case calendar
                      and folder.
12/08/23   EJM        Review notice of amended agenda.                                    0.10   795.00        79.50
12/10/23   SAL        Review notices of deposition, update critical dates, and            0.10   350.00        35.00
                      email to E. Monzo re same.
12/11/23   SAL        Email from E. Monzo re deposition dates and update case             0.10   350.00        35.00
                      calendar.
12/11/23   DJD        Email transcriber re Dec 11 transcript.                             0.10   350.00        35.00
12/11/23   SBC        Review relevant pleadings for December 11 hearing.                  1.50   385.00       577.50
12/11/23   EJM        Update to co-counsel following hearing.                             0.10   795.00        79.50
12/11/23   BMK        Review recently filed pleadings.                                    1.10   750.00       825.00
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Date        Atty        Description                                                     Hours      Rate   Amount
12/12/23    SAL         Review relevant pleadings filed, update critical dates, and      0.30    350.00    105.00
                        update case folder.
12/13/23    SAL         Emails with E. Monzo re status of December 19 hearing,            0.20   350.00     70.00
                        cancel reservations, and update case calendar.
12/14/23    SAL         Review relevant pleadings filed and update case folder.           0.30   350.00    105.00
12/14/23    DJD         Review transcript, circulate and update case folder.              0.20   350.00     70.00
12/14/23    SAL         Circulate December 11 hearing transcript to M. Soliman.           0.10   350.00     35.00
12/15/23    SAL         Review agenda cancelling December 19 hearing, update              0.10   350.00     35.00
                        critical dates, and update case calendar and folder.
12/15/23    SBC         Review Stipulation and Order re Debtors and Fiberdyne.            0.40   385.00    154.00
12/15/23    SBC         Review relevant pleadings for December 19 hearing.                1.00   385.00    385.00
12/19/23    SAL         Review relevant pleadings filed, update critical dates, and       0.40   350.00    140.00
                        update case calendar and folder.
12/19/23    SBC         Review operating reports.                                         0.50   385.00    192.50
12/19/23    EJM         Review monthly operating report.                                  0.10   795.00     79.50
12/22/23    SAL         Review relevant pleadings filed, update critical dates, and       0.30   350.00    105.00
                        update case calendar and folder.
12/27/23    SAL         Review relevant pleadings filed, update critical dates, and       0.20   350.00     70.00
                        update case calendar and folder.

                        Task Code Subtotal                                               11.10            5,191.00

B130 Asset Disposition
12/07/23   EJM         Review motion re sale of miscellaneous assets.                     0.40   795.00    318.00
12/08/23   SBC         Review relevant pleadings re Debtors repurchase of                 1.00   385.00    385.00
                       Endurance Trucks.
12/08/23   SBC         Review Notice of Sale of Miscellaneous Assets.                     0.50   385.00    192.50
12/13/23   SBC         Review Order Approving Sale Procedures of                          0.60   385.00    231.00
                       Miscellaneous Assets.
12/13/23   EJM         Review sale related filings and motions.                           2.10   795.00   1,669.50
12/15/23   SBC         Review order approving sale procedures.                            1.20   385.00     462.00
12/18/23   EJM         Review filings re SEC request for time to take action.             0.30   795.00     238.50
12/19/23   SBC         Review order granting motion of SEC.                               0.20   385.00      77.00
12/19/23   SBC         Review Order authorizing/approving sale.                           0.40   385.00     154.00
12/20/23   SBC         Review Order granting motion of SEC.                               0.20   385.00      77.00
12/20/23   SBC         Review Motion of SEC.                                              0.50   385.00     192.50
12/20/23   EJM         Review SEC motion to extend deadline to take action.               0.40   795.00     318.00
12/27/23   SBC         Review COC regarding Debtors' Order Authorizing and                0.30   385.00     115.50
                       Approving the Sale of Certain of the Debtors' assets.
12/27/23   EJM         Review of the form of sale order.                                  0.60   795.00    477.00
12/28/23   EJM         Review sale order.                                                 0.40   795.00    318.00
12/29/23   SBC         Review order authorizing and approving the sale of                 0.50   385.00    192.50
                       certain of the debtors' assets.
12/29/23   SBC         Review COC regarding second stipulation between                    0.40   385.00    154.00
                       debtors and SEC.

                        Task Code Subtotal                                               10.00            5,572.00

B150 Meetings/Communications with Committee and/or Creditors
12/01/23   BMK     Attend committee call.                                                 0.80   750.00    600.00
12/04/23   EJM     Update to committee on discussions re case status.                     0.50   795.00    397.50
12/06/23   EJM     Emails with committee re update on plan issues.                        0.10   795.00     79.50
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Date         Atty        Description                                                   Hours      Rate   Amount
12/07/23     EJM         Committee update prior to meeting.                             0.10    795.00     79.50
12/11/23     EJM         Email updates re case status and negotiations.                 0.30    795.00    238.50
12/14/23     EJM         Email updates re case status and committee call.               0.20    795.00    159.00
12/14/23     BMK         Emails with co-counsel and committee regarding updates         0.90    750.00    675.00
                         on Plan and voting and review results.

                         Task Code Subtotal                                              2.90            2,229.00

B160 Retention Applications (MJ)
12/13/23   DJD        Draft notice of annual rate change.                                0.30   350.00    105.00
12/14/23   DJD        File notice of rate increase, email counsel for service, and       0.30   350.00    105.00
                      update case folder.

                         Task Code Subtotal                                              0.60             210.00

B165 Retention Applications (Others)
12/14/23   DJD        Draft notice of M3 annual rate change.                             0.30   350.00    105.00
12/15/23   DJD        Review, update and file BR rate increase notice, email             0.40   350.00    140.00
                      counsel for service, arrange mail service, and update
                      case folder.
12/15/23   DJD        Update and file M3 rate increase notice, email counsel for         0.30   350.00    105.00
                      service, arrange mail service, and update case folder.

                         Task Code Subtotal                                              1.00             350.00

B170 Fee Applications (MJ)
12/01/23   JKS         Confirm payment re cash receipts and update billing               0.20   125.00     25.00
                       chart.
12/01/23   JKS         Disbursement expense request (2) re preparation of fee            0.40   125.00     50.00
                       application.
12/06/23   DJD         Review open payments due to fee applications and email            0.20   350.00     70.00
                       internally.
12/06/23   DJD         Further review and update invoice and emails with                 0.40   350.00    140.00
                       accounting and E. Monzo.
12/07/23   DJD         Update and file second monthly application, email E.              0.30   350.00    105.00
                       Monzo and co-counsel re comment, email counsel for
                       service, arrange mail service, update case folder, and
                       update calendar.
12/07/23   EJM         Finalize fee application and emails with committee                0.20   795.00    159.00
                       members.
12/07/23   BMK         Emails with D. Depta regarding draft and review same.             1.10   750.00    825.00
12/08/23   DJD         Review and revise Nov invoice and email accounting re             0.60   350.00    210.00
                       updates.
12/11/23   DJD         Email with A. Ciccone re Dec fee estimates.                       0.10   350.00     35.00
12/11/23   DJD         Draft third monthly application.                                  0.80   350.00    280.00
12/21/23   DJD         Draft CNO re second monthly application.                          0.70   350.00    245.00
12/22/23   DJD         Update and file third monthly application, email counsel          0.60   350.00    210.00
                       for service, arrange mail service, update case folder, and
                       update calendar.
12/22/23   BMK         Emails with D. Depta regarding draft fee application (.3);        1.00   750.00    750.00
                       review draft (.7).
12/26/23   EJM         Internal correspondence with paralegal re billing update.         0.10   795.00     79.50
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Date        Atty        Description                                                   Hours      Rate   Amount
12/28/23    DJD         File CNO re second monthly application, email B. Keilson       0.40    350.00    140.00
                        and accounting, emails with Debtors' counsel re payment
                        and update case folder.
12/28/23    BMK         Emails with D. Depta regarding pending fee application          0.50   750.00    375.00
                        and draft CNO (.4); review draft (.1).

                        Task Code Subtotal                                              7.60            3,698.50

B175 Fee Applications (Others)
12/01/23   DJD         Draft and file CNO re M3 first monthly application, email        0.60   350.00    210.00
                       R. Winning, and update case folder.
12/01/23   BMK         Emails with D. Depta regarding draft CNO for pending fee         0.60   750.00    450.00
                       application and review same.
12/06/23   DJD         Review and file BR second monthly application, draft             1.20   350.00    420.00
                       notice and COS, email counsel for service, arrange mail
                       service, update case folder, and update calendar.
12/06/23   DJD         Review and file M3 second monthly application, draft             1.00   350.00    350.00
                       COS, email counsel for service, arrange mail service,
                       update case folder, and update calendar.
12/06/23   EJM         Review drafts of fee statements of co-counsel and                0.30   795.00    238.50
                       financial advisors.
12/06/23   BMK         Review draft fee applications and emails with D. Depta           1.30   750.00    975.00
                       regarding finalizing and filing same.
12/11/23   EJM         Attend hearing on interim fee applications.                      0.40   795.00    318.00
12/21/23   DJD         Draft CNO re BR second monthly application.                      0.30   350.00    105.00
12/21/23   DJD         Draft CNO re M3 second monthly application.                      0.30   350.00    105.00
12/22/23   DJD         Review and file BR third monthly application, draft notice       1.30   350.00    455.00
                       and COS, email counsel for service, arrange mail service,
                       update case folder, and update calendar.
12/22/23   BMK         Emails with D. Depta and co-counsel regarding pending            0.60   750.00    450.00
                       fee applications and draft CNO.
12/26/23   EJM         Review committee fee application.                                0.20   795.00    159.00
12/27/23   DJD         File CNO re BR second monthly application, email M.              0.30   350.00    105.00
                       Soliman, and update case folder.
12/27/23   DJD         File CNO re M3 second monthly application, email R.              0.30   350.00    105.00
                       Winning, and update case folder.
12/27/23   BMK         Emails with M3 and D. Depta regarding draft CNO for              0.50   750.00    375.00
                       pending fee application and review same.

                        Task Code Subtotal                                              9.20            4,820.50

B185 Assumption/Rejection of Leases and Contracts
12/05/23  SBC        Review relevant pleadings re debtors' first omnibus                1.50   385.00    577.50
                     objection.
12/06/23  SBC        Review relevant pleadings re Transfer Notices.                     1.00   385.00    385.00
12/13/23  SBC        Review Order authorizing Contract Assumption and Cure              0.70   385.00    269.50
                     Costs.

                        Task Code Subtotal                                              3.20            1,232.00

B310 Claims Administration and Objections
12/04/23   SBC        Review relevant pleadings re notice of proof of claim             0.30   385.00    115.50
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 Date        Atty         Description                                                  Hours       Rate     Amount
                          deadlines.
 12/05/23    EJM          Review form of order granting claim objection and motion       0.50   795.00        397.50
                          to assume contracts.
 12/07/23    SBC          Review relevant pleadings re transfer of claims.               1.00   385.00        385.00
 12/15/23    SBC          Review stipulation between debtors and fiberdyne.              0.50   385.00        192.50
 12/27/23    SBC          Review Order approving stipulation between Debtors and         0.30   385.00        115.50
                          SEC to Extend the Deadline for Filing Proofs of Claim.
 12/27/23    SAL          Emails with E. Monzo re SEC extended claim deadline.           0.10   350.00         35.00
 12/29/23    SAL          Monitor claims register re SEC claim and email to E.           0.20   350.00         70.00
                          Monzo re same.

                          Task Code Subtotal                                             2.90               1,311.00

 B320 Plan and Disclosure Statement
 12/01/23   EJM        Review plan supplement and committee update on case               0.80   795.00        636.00
                       status.
 12/01/23   SBC        Review relevant pleadings re filing of plan.                      1.50   385.00        577.50
 12/04/23   SBC        Review relevant pleadings re plan confirmation.                   1.20   385.00        462.00
 12/08/23   EJM        Review plan related objections.                                   0.50   795.00        397.50
 12/12/23   EJM        Update on confirmation scheduling.                                0.20   795.00        159.00
 12/29/23   BMK        Review UST objection to confirmation.                             0.80   750.00        600.00
 12/29/23   SBC        Review objection of the U.S. Trustee to plan confirmation.        0.60   385.00        231.00

                          Task Code Subtotal                                             5.60               3,063.00


                                                                                     Sub-Total Fees:       27,677.00


For Disbursements through December 31, 2023
                                                  Disbursements

 Date       Description                                                                                     Amount
            Postage                                                                                            7.56
            Reproduction                                                                                      11.20
 12/01/23 Reliable Wilmington - Lordstown - Reliable 11.3.2023 transcript                                    625.05
 12/01/23 Reliable Wilmington - Lordstown - Reliable 11.6.2023 transcript                                     41.85
 12/06/23 Reliable Wilmington - Reliable (Production) 11/13/23 Request for Documents at                      144.12
            USBC
 12/19/23 Reliable Wilmington - (Transcript) 11/21/23 Hearing Transcript                                       7.00
 Total Disbursements                                                                                         836.78


 Total Services and Disbursements this period                                                             $28,513.78
 Balance Due                                                                                              $28,513.78
